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                                                 United States District Court
                                             SOUTHERN DISTRICT OF FLORIDA

                                                                                  WITNESS LIST
  Florida Beauty Flora, Inc v. Pro Intermodal L.L.C et. al.             CASE NO. 19-20966-CIV-ALTONAGA


PRESIDING JUDGE                                               PLAINTIFF ATTORNEY           DEFENDANT ATTORNEY
                                                              Ryan M. Clancy, Yamila       Carlos Santisteban, Jalexis
                                                              Lorenzo & Christopher        Camacho & Richard Diaz
Hon. Cecilia M. Altonaga                                      Malafis
TRIAL/HEARING DATE(S)                                         COURT REPORTER               COURTROOM DEPUTY
05/01/2020                                                                                 Patricia Snead
                                                                                       WITNESS
 W#


  1                                                           Ronen Koubi, Individually
  2                                                           Ronen Koubi, as Corporate Representative of Plaintiff

                                                              Ronen Koubi, as Corporate Representative of Floral Logistics
  3                                                           of Miami, Inc.


  4                                                           Ralph Milman, Individually


  5                                                           Ralph Milman, as Corporate Representative of Plaintiff
